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                                   JURISDICTION AND VENUE

        5.        This Court has subject-matter jurisdiction over Plaintiff’s claims pursuant to 28

U.S.C. § 1331 because the claims present a federal question.

        6.        Pursuant to 28 U.S.C. § 1367, this Court has supplemental jurisdiction over

Plaintiff’s state-law claims, as those claims arise out of the same set of operative facts as the

federal claims.

        7.        This Court has jurisdiction over Defendants because Defendants’ contacts with

this state and judicial district are sufficient for the exercise of jurisdiction over Defendants to

comply with traditional notions of fair play and substantial justice, satisfying the standard set

forth by the United States Supreme Court in International Shoe Co. v. State of Washington, 326

U.S. 310 (1945), and its progeny.

        8.        Venue is proper pursuant to Section 2000e-5(f)(3) of Title VII of the Civil Rights

Act of 1964 because the unlawful employment practices alleged to have been committed

occurred in this judicial district, and the employment records relevant to such practices are

maintained and administered in this district.

        9.        Venue is also proper pursuant to the general venue statute, 28 U.S.C. §§

1391(b)(1)-(b)(2), because Defendants reside in and/or conduct business in this judicial district,

and because a substantial part of the acts and/or omissions giving rise to the claims set forth

herein occurred in this judicial district.

        10.       At all times relevant hereto, Defendants each employed fifteen (15) or more

persons for each working day in each of twenty (20) or more calendar weeks in the current or

preceding calendar year.




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        11.     Plaintiff has exhausted all administrative remedies. Two (2) Notices of Right-to-

Sue from the Equal Employment Opportunity Commission (“EEOC”) are attached hereto

collectively as Exhibit “A.”

                                         COUNT I:
                   HOSTILE WORK ENVIRONMENT/HARASSMENT
                     BASED ON SEXUAL ORIENTATION (LESBIAN)
   IN VIOLATION OF TITLE VII OF THE CIVIL RIGHTS ACT OF 1964, 42 U.S.C. §
                                        2000e, et seq.
      (Plaintiff, Michelle “Doe” v. Defendants, Parx Casino; Greenwood Gaming and
             Entertainment, Inc.; and Greenwood Table Games Services, Inc.)

        12.     All of the foregoing paragraphs are hereby incorporated as if the same were more

fully set forth herein at length.

        13.     Plaintiff was hired by Defendants in or around December 2017 as a Table Games

Dealer at Parx Casino located at 2999 Street Road, Bensalem, PA 19020.

        14.     Plaintiff is an African-American female who identifies as a lesbian and has a

masculine gender expression.

        15.     Plaintiff was subjected to a hostile environment/harassment because she is a

lesbian. Sexual orientation discrimination is a subset of sex discrimination. All anti-gay or

lesbian bias is inherently a form of sex bias.

        16.     The harassment consisted of the following:

                a.      Plaintiff recalls that frequently during lunch and on breaks, throughout

                        Plaintiff’s employment, Plaintiff would sit at a table isolated as nobody

                        would join Plaintiff’s table, or Plaintiff would sit isolated on the benches

                        in the middle of the room while Plaintiff’s co-employees would sit around

                        Plaintiff or at the end. Plaintiff’s co-employees would not interact or




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      associate with Plaintiff and acted as if they did not wish to be associated

      with Plaintiff.

 b.   Plaintiff also recalls that frequently on outside breaks Plaintiff’s co-

      employees would not interact or associate with Plaintiff and acted as if

      they did not wish to be associated with Plaintiff.

 c.   Plaintiff recalls, several times in or around January/February 2018, Greg

      Houston, a male co-employee, would look in the opposite direction of

      Plaintiff when on the casino floor, would not associate with Plaintiff, and

      acted as if he did not wish to be associated with Plaintiff.

 d.   In or around December 2017, shortly after Plaintiff started, Defendants’

      security guard, whose name Plaintiff does not know, misgendered Plaintiff

      with “sir” (“Thanks, sir”).

 e.   Plaintiff recalls that Lydia Last Name Unknown (“LNU”), a Table Games

      Dealer and co-employee, said, “She’s gay,” speculating about another

      female co-employee (not Plaintiff), to another co-employee, Christine

      LNU, in or around early 2018.

 f.   In or around early 2018, and continuing through sometime in March 2018,

      Tyron LNU, Table Games Dealer, would repeatedly pick on Plaintiff, for

      example, by being aggressive, refusing to move out of the way for

      Plaintiff, and, in or around March 2018, Tyron jumped in Plaintiff’s face

      aggressively.

 g.   In or around March 2018, a female co-employee said to Plaintiff, “Ooh,

      baby.”


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 h.   In or around Plaintiff recalls March 2018, Plaintiff recalls discussing with

      either Becky LNU and Susan Eckert, in Human Resources, that Plaintiff

      believed she was being harassed by certain of Plaintiff’s co-employees.

      Plaintiff also spoke to Steve Smith, Smith Manager.

 i.   In or around Easter, in April 2018, Gerald LNU, a Cook in the Employee

      Dining Room, said, “Yes sir, I mean ma’am”, or words to that effect, to

      Plaintiff, in a derogatory manner. Plaintiff believes it was intentional

      because Gerald knew the Plaintiff. Plaintiff ate lunch in the dining room

      and interacted with Gerald before this incident.

 j.   In or around May 2018, a male co-employee said, “Hey, sunshine,” to

      Plaintiff.

 k.   In or around May 2018, during a pre-shift meeting, Plaintiff stood up,

      Plaintiff introduced herself as Michelle, and Plaintiff said, “You can call

      me Shell.” Plaintiff used “Shell” on Plaintiff’s nametag and with

      customers. Plaintiff said that she may have had run-ins with some

      employees, and if anybody had any questions they should feel free speak

      to Plaintiff, or words to that effect. Julia Hall, the Pit Boss, said Plaintiff

      was not allowed to interrupt and to sit down. However, Plaintiff recalls a

      male employee was allowed to say what he wanted to say during a pre-

      shift a few months later. When presented with an opportunity to have

      shown a commitment to non-discrimination, to have allowed Plaintiff to

      address her co-employees together in a safe space in the way Plaintiff felt

      comfortable, and to potentially resolve the issues of anti-gay or lesbian


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                      harassment by her co-employees, instead, Ms. Hall shut Plaintiff down,

                      and the hostile environment continued.

               l.     In or around late June 2018, Lydia LNU, Table Games Dealer, said

                      something to Plaintiff and Plaintiff ignored it. Lydia then said, “What, is

                      this bitch deaf?” Lydia said to Plaintiff, “You’re not a man,” said that

                      Plaintiff was “dirty,” and said that Plaintiff had a “bald head,” or words to

                      that effect. Lydia said this in front of another female co-employee, Jade

                      LNU.

               m.     On or about August 11, 2018, a third party who is male came into Parx

                      and threatened or intimidated the Plaintiff by getting in Plaintiff’s face and

                      making a fist. Plaintiff raised her concern with the pit boss.

               n.     On or about August 12, 2018, Steve Smith, suspended Plaintiff’s

                      employment, and stated Plaintiff was under investigative suspension.

               o.     Plaintiff was notified of Plaintiff’s termination by Defendants on or about

                      August 13, 2018.

       17.     Plaintiff was subjectively offended, and any reasonable person would be

objectively offended, by the harassment.

       18.     The harassment was severe or pervasive enough to alter the conditions of

Plaintiff’s work environment, and make it more difficult to do the job.

       19.     Defendants failed to provide prompt and appropriate action to prevent, correct,

and remedy the hostile environment.

       20.     Defendants do not have a policy of non-discrimination/anti-harassment which is

fully LGBT-inclusive as the Defendants’ “Equal Employment Protection” / “Equal Employment


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Opportunity” policy in the employee handbook at pages 11-13, and online at

[www.parxcasino.com/diversity] (Last Accessed December 7, 2018), does not specifically

extend to “gender identity” or “gender expression.”

        WHEREFORE, Plaintiff, Michelle “Doe”, demands judgment in her favor and against

Defendants in an amount in excess of $150,000.00, and which will fully and fairly compensate

Plaintiff for any and all back and front pay, overtime, benefits, bonuses, and commissions;

compensatory damages for pain and suffering, mental anguish, anxiety, depression, humiliation,

embarrassment, and emotional distress; punitive damages; pre- and post-judgment interest,

reasonable attorneys’ fees, costs of suit; equitable/injunctive relief requiring that Defendants

adopt, post, and disseminate a policy of non-discrimination and anti-harassment that is fully

LGBT-inclusive by extending to gender identity and gender expression; requiring training in

non-discrimination and anti-harassment; and requiring Defendants to post notice of the verdict in

this matter.

                                         COUNT II:
                       WRONGFUL DISCHARGE/TERMINATION
                     BASED ON SEXUAL ORIENTATION (LESBIAN)
   IN VIOLATION OF TITLE VII OF THE CIVIL RIGHTS ACT OF 1964, 42 U.S.C. §
                                        2000e, et seq.
      (Plaintiff, Michelle “Doe” v. Defendants, Parx Casino; Greenwood Gaming and
             Entertainment, Inc.; and Greenwood Table Games Services, Inc.)

        21.     All of the foregoing paragraphs are hereby incorporated as if the same were more

fully set forth herein at length.

        22.     Plaintiff was objectively qualified for the position Plaintiff held with Defendants

as Table Games Dealer because Plaintiff went to Dealer Training Academy at Bucks County

Community College, went to Casino Dealer School to learn Baccarat, and has worked previously

as a dealer.



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        23.       Plaintiff is an African-American female who identifies as a lesbian and has a

masculine gender expression.

        24.       Plaintiff was terminated from employment by Defendants because Plaintiff is

openly lesbian. Sexual orientation discrimination is a subset of sex discrimination. All anti-gay

or lesbian bias is inherently a form of sex bias. The facts which support Plaintiff’s claim of

wrongful discharge/termination based on sexual orientation are as follows:

        25.       Defendants do not have a policy of non-discrimination/anti-harassment which is

fully LGBT-inclusive as the Defendants’ “Equal Employment Protection” / “Equal Employment

Opportunity” policy in the employee handbook at pages 11-13, and online at

[www.parxcasino.com/diversity] (Last Accessed December 7, 2018), does not specifically

extend to “gender identity” or “gender expression.”

        26.       Plaintiff recalls that frequently during lunch and on breaks, throughout Plaintiff’s

employment, Plaintiff would sit at a table isolated as nobody would join Plaintiff’s table, or

Plaintiff would sit isolated on the benches in the middle of the room while Plaintiff’s co-

employees would sit around Plaintiff or at the end. Plaintiff’s co-employees would not interact

or associate with Plaintiff and acted as if they did not wish to be associated with Plaintiff.

        27.       Plaintiff also recalls that frequently on outside breaks Plaintiff’s co-employees

would not interact or associate with Plaintiff and acted as if they did not wish to be associated

with Plaintiff.

        28.       Plaintiff recalls, several times in or around January/February 2018, Greg Houston,

a male co-employee, would look in the opposite direction of Plaintiff when on the casino floor,

would not associate with Plaintiff, and acted as if he did not wish to be associated with Plaintiff.




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       29.     In or around December 2017, shortly after Plaintiff started, Defendants’ security

guard, whose name Plaintiff does not know, misgendered Plaintiff with “sir” (“Thanks, sir”).

       30.     Plaintiff recalls that Lydia Last Name Unknown (“LNU”), a Table Games Dealer

and co-employee, said, “She’s gay,” speculating about another female co-employee (not

Plaintiff), to another co-employee, Christine LNU, in or around early 2018.

       31.     In or around early 2018, and continuing through sometime in March 2018, Tyron

LNU, Table Games Dealer, would repeatedly pick on Plaintiff, for example, by being aggressive,

refusing to move out of the way for Plaintiff, and, in or around March 2018, Tyron jumped in

Plaintiff’s face aggressively.

       32.     In or around March 2018, a female co-employee said to Plaintiff, “Ooh, baby.”

       33.     In or around Plaintiff recalls March 2018, Plaintiff recalls discussing with either

Becky LNU and Susan Eckert, in Human Resources, that Plaintiff believed she was being

harassed by certain of Plaintiff’s co-employees. Plaintiff also spoke to Steve Smith, Smith

Manager.

       34.     In or around Easter, in April 2018, Gerald LNU, a Cook in the Employee Dining

Room, said, “Yes sir, I mean ma’am”, or words to that effect, to Plaintiff, in a derogatory

manner. Plaintiff believes it was intentional because Gerald knew the Plaintiff. Plaintiff ate

lunch in the dining room and interacted with Gerald before this incident.

       35.     In or around May 2018, a male co-employee said, “Hey, sunshine,” to Plaintiff.

       36.     In or around May 2018, during a pre-shift meeting, Plaintiff stood up, Plaintiff

introduced herself as Michelle, and Plaintiff said, “You can call me Shell.” Plaintiff used “Shell”

on Plaintiff’s nametag and with customers. Plaintiff said that she may have had run-ins with

some employees, and if anybody had any questions they should feel free speak to Plaintiff, or


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words to that effect. Julia Hall, the Pit Boss, said Plaintiff was not allowed to interrupt and to sit

down. However, Plaintiff recalls a male employee was allowed to say what he wanted to say

during a pre-shift a few months later.

        37.    In or around late June 2018, Lydia LNU, Table Games Dealer, said something to

Plaintiff and Plaintiff ignored it. Lydia then said, “What, is this bitch deaf?” Lydia said to

Plaintiff, “You’re not a man,” said that Plaintiff was “dirty,” and said that Plaintiff had a “bald

head,” or words to that effect. Lydia said this in front of another female co-employee, Jade

LNU.

        38.    On or about August 11, 2018, a third party who is male came into Parx and

threatened or intimidated the Plaintiff by getting in Plaintiff’s face and making a fist. Plaintiff

raised her concern with the pit boss.

        39.    On or about August 12, 2018, Steve Smith, suspended Plaintiff’s employment,

and stated Plaintiff was under investigative suspension.

        40.    Plaintiff was notified of her termination by Defendants on or about August 13,

2018.

        41.    By comparison, Defendants did not terminate the employment of Lydia LNU who

is heterosexual, verbally harassed Plaintiff based on Plaintiff’s sexual orientation approximately

two (2) months before, and who commented about another female employee’s perceived sexual

orientation prior to harassing Plaintiff on the same basis.

        42.    Defendants used a negative interaction with a customer as a pretext to terminate

Plaintiff’s employment, and the real reason for Plaintiff’s termination was Plaintiff’s sexual

orientation (lesbian), and/or others’ negative reactions to Plaintiff being openly lesbian.




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